             Case 8:24-bk-05243-CPM         Doc 19     Filed 11/13/24     Page 1 of 2

                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

In Re:                       Case No. 8:24-bk-05243-CPM
XAVIER CHARLES ALEXANDER WASHINGTON II         Chapter 13

               Debtor.
                                      /

               DEBTOR’S RESPONSE TO UNITED STATES TRUSTEE
               MOTION TO DISMISS WITH PREJUDICE (DOCKET #15)

       Debtor, by and through the undersigned attorney, files this Response to United States
Trustee Motion to Dismiss with Prejudice (Docket #15) and states the following:

      1.      This case was instituted by the filing of a Voluntary Petition under Chapter 13 on
September 3, 2024.

       2.      The Chapter 13 Plan proposes to pay adequate protection to the mortgage
company holding the secured claim against Debtor’s homestead real property, cure the arrears on
the mortgage, cure the arrears on the homestead real property’s homeowner’s association, and
pay the secured claim of Internal Revenue Service.

       3.      On October 30, 2024, the United States Trustee filed its motion to dismiss with
prejudice.

       4.      Debtor asserts that each of the chapter 13 cases have been filed in good faith.

       5.      In case 8:20-bk-00177-CPM, Debtor paid a total of $55,207.00 to the Chapter 13
Trustee.

       6.      In case 8:22-00382-CPM, Debtor paid a total of $39,790.00 to the Chapter 13
Trustee. Of that amount, $18,900.00 was disbursed to the mortgage company.

       7.      In case 8:22-01727-CPM, Debtor paid a total of $62,510.00 to the Chapter 13
Trustee. Of that amount, $27,699.51 was disbursed to the mortgage company.

        8.     In the instant case, Debtor has paid $9,280.00 to the Chapter 13 Trustee and is
current on the payments.

       9.     Debtor has demonstrated good faith efforts in each case to pay his debts, primarily
the mortgage company.

       WHEREFORE, Debtor respectfully requests that this Court set this matter for hearing to
consider the entry of an order denying the Motion.
           Case 8:24-bk-05243-CPM         Doc 19    Filed 11/13/24    Page 2 of 2

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by U.S. Mail or
electronic filing notice to Jon Waage, Trustee; Xavier Washington, Debtor, 6211 S Macdill
Ave, Unit 1, Tampa, FL 33611; Teresa M. Dorr, Esq., staff attorney for Movant; this 13th day
of November, 2024.

                                                   __/s/_Kelley M. Petry        __________
                                                   Kelley M. Petry, Esq. Fl Bar No 0388180
                                                   Law Offices of Robert M. Geller, P.A.
                                                   807 W. Azeele St.
                                                   Tampa, FL 33606
                                                   (813) 807-3449
                                                   email: kpetry@robertgellerlaw.com
